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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

NINGDE AMPEREX TECHNOLOGY                          §
LIMITED,                                           §
                                                   §
                Plaintiff,                         §
                                                   §
v.                                                 §   CIVIL ACTION NO. 2:22-CV-00232-JRG
                                                   §
ZHUHAI COSMX BATTERY CO., LTD.,                    §
                                                   §
                Defendant.                         §

                                             ORDER

       Before the Court is the parties’ Joint Post-Trial Motion Regarding Supplemental Damages

(the “Motion”). (Dkt. No. 387.) In the Motion, Plaintiff Ningde Amperex Technology Ltd.

(“ATL”) and Zhuhai CosMX Battery Co., Ltd. (“CosMX”) jointly move under Federal Rule of

Civil Procedure 59(e) to amend the judgment (Dkt. No. 369) to include an award of supplemental
   .
damages. (Id.) In the motion, the parties also note that they have met and conferred, and the parties

agree that $459,127.00 U.S. Dollars should be awarded for the supplemental damages

and prejudgment interest.

       Having considered the Motion, and noting its joint nature, the Court finds that it should be

and hereby is GRANTED. The awards described herein will be reflected in an Amended Final

Judgment.

      So ORDERED and SIGNED this 20th day of August, 2024.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE
